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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    INNOVATIVE SPORTS                                 Case No.: 20-cv-02229-JLS-AHG
      MANAGEMENT, INC.,
12
                                       Plaintiff,       ORDER VACATING MOTION
13                                                      HEARING AND TAKING MATTER
      v.                                                UNDER SUBMISSION
14
      JAVIER RODRIGUEZ,
15
                                     Defendant.
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18         Presently before the Court is Plaintiff’s Motion for Attorneys’ Fees and Costs (ECF
19   No. 10). The Court hereby VACATES the Motion Hearing scheduled for December 9,
20   2021, and takes the matter under submission without oral argument pursuant to Civil Local
21   Rule 7.1(d)(1).
22         IT IS SO ORDERED.
23   Dated: December 2, 2021
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